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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         NEWNAN DIVISION

KAYLA SHOULARS,            )
                           )
               Plaintiff,  )
                           )                     CIVIL ACTION NO.:
v.                         )                     3:20-cv-00156-TCB
                           )
RAM SHAI RAM, INC. d/b/a/  )
BOWDON KWIK SHOP, VARSHA )
PATEL, and TUSHAR PATEL,   )
                           )
               Defendants. )

      JOINT MOTION TO APPROVE SETTLEMENT AGREEMENT
               AND TO DISMISS WITH PREJUDICE

      Plaintiff, KAYLA SHOULARS (“Plaintiff”), and Defendants, RAM SHAI

RAM, INC. d/b/a BOWDON KWIK SHOP, VARSHA PATEL, and TUSHAR

PATEL (“Defendants”) (collectively, the “Parties”), by and through their

undersigned counsel, hereby move for approval of the Parties’ Settlement

Agreement and dismissal of Plaintiff’s claims with prejudice, stating as follows:

      1.    Plaintiff filed her Complaint in this case on August 25, 2020, seeking

overtime compensation under the Fair Labor Standards Act (“FLSA”) and alleged

unpaid wages [Doc. 1]. On November 19, 2020, Plaintiff filed her Amended

Complaint [Doc. 9] seeking the same relief against the same Defendants.
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      2.    A bona fide dispute existed between the Parties, as Plaintiff claimed an

entitlement to unpaid overtime wages, and Defendant maintained that the Plaintiff

did not work any overtime and has been compensated fully for any and all hours

Plaintiff worked at Defendants’ business.

      3.    Following the informal exchange of documents and information, the

Parties participated in settlement negotiations, which have resulted in a Settlement

Agreement and General Release (“Agreement”), a copy of which is attached hereto

as EXHIBIT A. This Agreement was fully executed as of August 19, 2021.

      4.    Under the Agreement, Defendants will pay Plaintiff a total of $1,500.00

in consideration of her underlying claims for alleged unpaid overtime and regular

wages, and liquidated damages, in exchange for a release and the dismissal of all of

Plaintiff’s claims.1 Plaintiff has confirmed that this amount provides all possible

relief for claims for unpaid overtime under the FLSA, based on her documented

work hours. Thus, Plaintiff believes that the settlement amounts can be properly

characterized as settlement “without compromise.”

      5.    In addition to the payment outlined in Paragraph 4 above, Defendants

will pay to Plaintiff’s counsel $1,500.00 for attorneys’ fees and costs. Undersigned



1
 Plaintiff will receive $750 in alleged unpaid overtime and regular wages and
$750 in liquidated damages.
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counsel avers that the attorneys’ fee portion of the settlement was negotiated apart

from, and subsequent to, agreement on the amount of settlement funds to be paid to

the Plaintiff. The Parties jointly submit that the settlement reached herein is fair and

reasonable and in fact is less than Plaintiff’s actual lodestar fees and expenses.

      6.      In accordance with the Eleventh Circuit precedent Lynn’s Food Stores,

Inc. v. U.S. Dep’t of Labor, 679 F. 2d 1350, 1353 (11th Cir. 1982), and the Local

Rules of this Court, the Parties request that the Court approve their Agreement.

      7.      In support of this Motion, the Parties stipulate that: (a) the settlement

of this matter is fair and reasonable; (b) the attorneys’ fees to be paid by Defendants

to resolve Plaintiff’s claims under the FLSA, are fair and reasonable, and were

negotiated separately from the amount for Plaintiff’s underlying claims; and (c) there

was no undue influence, overreaching, collusion, or intimidation in reaching the

settlement.

                            MEMORANDUM OF LAW

      Pursuant to the law of this Circuit, judicial review and approval of this

tentative settlement provides final and binding effect to an agreement to settle a

compromise of a claim under the FLSA. Lynn’s Food Stores, Inc. v. U.S. Dep’t of

Labor, 679 F. 2d 1350 (11th Cir. 1982). As the Eleventh Circuit held in Lynn’s Food

Stores, there are only two ways in which back wage claims arising under the FLSA

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can be settled or compromised by employees. First, under Section 216(c) of the

FLSA, the Secretary of Labor is authorized to supervise payment to employees of

unpaid wages owed to them. The only other route for compromise of FLSA claims

is provided in the context of suits brought directly by employees against their

employer under FLSA Section 216(b) to recover unpaid overtime. When employees

bring a private action for unpaid overtime under the FLSA, and present to the district

court a proposed settlement, the district court may enter a stipulated judgment after

scrutinizing the settlement for fairness. Id. at 1352-53.

      Before approving an FLSA settlement, the court must ensure that it is “a fair

and reasonable resolution of a bona fide dispute.” Id. at 1354-55. If the settlement

reflects a reasonable compromise over issues that are actually in dispute, the court

may approve the settlement “in order to promote the policy of encouraging

settlement of litigation.” Id. at 1354.

      In determining whether the parties’ Agreement is fair and reasonable, the

Court should consider the following factors: (1) the existence of fraud or collusion

behind the settlement; (2) the complexity, expense, and likely duration of the

litigation; (3) the stage of the proceedings and the amount of discovery completed;

(4) the probability of plaintiff’s success on the merits; (5) the range of possible

discovery; and (6) the opinions of counsel. See Leverso v. South Trust Bank of Ala.,

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Nat. Assoc., 18 F. 3d 1527, 1531 n.6 (11th Cir. 1994); Hamilton v. Frito-Lay, Inc.,

No. 6:05-cv-592-Orl-22JGG, 2007 U.S. Dist. LEXIS 10287, at *2-3 (M.D. Fla. Jan.

8, 2007). There is a strong presumption in favor of finding a settlement fair.

Hamilton, 2007 U.S. Dist. LEXIS at *2-3; Cotton v. Hinton, 559 F.2d 1326, 1331

(5th Cir. 1977).

      Here, the parties jointly submit there has been sufficient investigation and

exchange of information to allow counsel for Plaintiff and Defendants to evaluate

the Parties’ claims and defenses and make recommendations to each party in

agreeing upon the resolution of Plaintiff’s claims as set forth in their Agreement.

      After exchanging information concerning Plaintiff’s employment, working

hours and pay, engaging in settlement negotiations which lasted over several

months, and in order to avoid the uncertainties and costs of dispositive motions and

trial, a compromise has been agreed upon with Plaintiff receiving a recovery

acceptable to her (which takes into account Plaintiff’s personal interest in ending

litigation at this stage and the inherent uncertainties of litigation).

      Moreover, Plaintiff is fully apprised of her potential damages and liquidated

damages were she to prevail, is represented by counsel, and has voluntarily chosen

to accept this compromise. The Plaintiff has been advised that if she proceeds in

this matter, she may prove all of the damages, or a jury may choose to credit the

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employer’s position, and that she may receive a lesser, or no, recovery. In light of

this uncertainty, Plaintiff agrees that the $750.00 she is receiving for damages on her

unpaid overtime and regular wage claims, plus an equal amount of $750.00 in

liquidated damages in this settlement constitutes a reasonable and informed

compromise of her claims. Indeed, after reviewing the available time and pay

records, Plaintiff believes she is receiving all monies potentially due to her under the

FLSA under the settlement.

      Accordingly, in light of Defendants’ agreement to pay Plaintiff the total sum

of $1,500, separate and apart from her attorneys’ fees, including consideration for

her unpaid wages and liquidated damages, the parties stipulate that their Agreement

is fair and reasonable.

      Further, the attorneys’ fees and costs are not a percentage of Plaintiff’s

recovery in this case, such that there is no correlation between the amount of

monetary consideration being paid to Plaintiff and the amount of attorneys’ fees and

costs being paid by Defendant on Plaintiff’s behalf. See 29 U.S.C. §216(b); Kreager

v. Solomon & Flanagan, P.A., 775 F. 2d 1541, 1542 (11th Cir. 1985). Rather,

Plaintiff’s attorneys’ fees and costs were claimed by Plaintiff and her counsel

separate and apart from the amounts sought by Plaintiff for her underlying claims,

and were negotiated independently.

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      As Judge Presnell explained in Bonetti v. Embarq Management Co., 2009

U.S. Dist. LEXIS 68075 at *11-12 (M.D. Fla. Aug. 4, 2009), where a plaintiff’s

attorneys’ fee was agreed upon separately and without regard to the amount paid to

plaintiff, then, unless the settlement does not appear reasonable on its face or there

is reason to believe that the plaintiff’s recovery was adversely affected by the amount

of fees paid to her attorney, the Court will approve the settlement without separately

considering the reasonableness of the fee to be paid to plaintiff’s counsel.

      The compromise agreed upon by the parties resolves all of Plaintiff’s claims

for attorneys’ fees and Plaintiff has no responsibility to her counsel for any out of

pocket sums. Importantly, throughout the entirety of the litigation in this case,

Plaintiff was represented by competent counsel with experience in labor and

employment law and Defendants also have been represented by experienced

counsel. The parties further advise the Court that their settlement agreement

submitted herewith includes every term and condition of the Parties’ settlement.

      WHEREFORE, Plaintiff and Defendants respectfully move for entry of an

Order, ordering the following:

      (1)    Approving the Parties’ settlement of the instant disputed claims as fair

      and reasonable;

      (2)    Dismissing this action with prejudice; and

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      (3) Any other relief that this Court deems just and appropriate.


      Respectfully submitted, this 20th day of August, 2021.

s/ William S. Cleveland                      s/ Gregory R. Fidlon
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 PATEL, and TUSHAR PATEL,   )
                            )
                Defendants. )

       L.R. 7.1 CERTIFICATION AND CERTIFICATE OF SERVICE

      I hereby certify that this document has been prepared in Times New Roman

14-point font, which is one of the font and point selections approved by the Court

in L.R. 5.1.

      I hereby certify that I have this 20th day of August, 2021 electronically filed

this JOINT NOTICE OF SETTLEMENT with the Clerk of Court using the

CM/ECF system, which will send electronic notification to all participating

counsel of record.

                                             s/ Gregory R. Fidlon
                                             Counsel for Defendants
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                         EXHIBIT A
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